             Case 1:22-cv-01043-APM Document 64 Filed 06/27/22 Page 1 of 2



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


   NATIONAL RAILROAD PASSENGER
   CORPORATION (AMTRAK),

                       Plaintiff,                              No. 1:22-cv-01043(APM)

                       v.

   SUBLEASE INTEREST PERTAINING TO
   DESCRIBED LEASEHOLD INTERESTS
   AT WASHINGTON UNION STATION, et al.

                       Defendants.




                   MEMORANDUM IN SUPPORT TO
MOTION FOR ORDER OF APPROVAL OF CONTRACT WITH PROPERTY MANAGER

           Union Station Investco LLC (“Defendant” or “USI”), by and through its undersigned

 counsel, hereby joins in the relief requested by the Motion for Order of Approval of Contract with

 Property Manager (Doc. 59) filed by Kookmin Bank Co., Ltd., individually and in its capacity as

 trustee (“Trustee” or “Kookmin”) of KTB CRE Debt Fund No. 8, a Korean Investment Trust

 (“Trust”), by its agent on behalf of Trust in Korea, Daol Fund Management Co. (“Daol Fund”)

 and by its agent on behalf of Trust in the United States, Rexmark Holdings LLC d/b/a Rexmark

 (“Rexmark Holdings,” together with Trustee, Trust, and Daol Fund, “Lender”) (the “Motion”).

           As set forth in detail in the Motion and the Lender’s memorandum in opposition to the

 motion to strike (Doc. 57), the only valid manager of USI is William H. Henrich, who was

 appointed by Lender on May 13, 2022, pursuant to the exercise of Lender’s express rights under a

 Pledge Agreement and other loan documents. Initially, USI sought to hire Cushman & Wakefield

 (“C&W”) to manage Union Station. Following the motion of the National Railroad Passenger



                                                 1
4858-3971-3062, v. 2
             Case 1:22-cv-01043-APM Document 64 Filed 06/27/22 Page 2 of 2



 Corporation (“Amtrak”) (Doc. 41), which Amtrak later withdrew (Doc. 47), USI committed to

 work with the existing property manager, Jones Lang LaSalle Americas, Inc. (“JLL”). JLL,

 however, continues to take orders from the former manager, Ben Ashkenazy and his companies

 (collectively, “Ashkenazy”), who have been actively undermining and obstructing USI’s attempts

 to continue working with JLL. (Doc. 57 at 7-8, 10-11). To date, as a result of Ashkenzay’s

 interference, JLL has so far declined to execute a management agreement directly with USI. (Id.).

 Accordingly, USI joins Lender in seeking relief from Ashkenazy’s interference with JLL and the

 essential and safe continued operations of Union Station.

           WHEREFORE, USI respectfully requests that the Court enter an order approving the

 execution of a contract between USI and JLL for management of Union Station or, if JLL does not

 agree to contract directly with USI, approving the execution of a contract between USI and C&W

 for management of Union Station.

                                                     Respectfully Submitted,

                                                   /s/ Thomas M. Wood IV
                                                 Thomas M. Wood IV, DC Bar # 426879
                                                 Brian M. Boyle, DC Bar# 999925
                                                 Neuberger, Quinn, Gielen, Rubin & Gibber, P.A.
                                                 One South Street, 27th Floor
                                                 Baltimore, Maryland 21202
                                                 tmw@nqgrg.com
                                                 bmb@nqgrg.com
                                                 410-332-8523 (Direct)
                                                 410-332-8564 (Fax)

                                                 Attorneys for Union Station Investco LLC




                                                 2
4858-3971-3062, v. 2
